Case1:08-cv-10109-WHP Document 7 Filed 03/27/09 Page 1 of11

UNITED STA'I`ES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

FAIR SPIRIT MARITIME LTD,
Plaintifi`,
- against -

INTER_NATIONAL OIL OVERSEAS INC.,
a/k/a IOOI, MARINA WORLD SHIPPING
CORI’., GRESHAM WORLD SHIPPING
INC., BAKRI TRADING CO. INC.,
TARAZONA SHIPPING CO., S.A., SCHIFF
HOLDING CO. S.A. and QUOIN ISLAND
MARINE WL,

Defendants.

 

03 civ. 10109 (WHP)

ECF CASE

 

AMEl!]_)ED VERIFIED COMPLAINT

Plaintifi`, FAIR SPIRI'I` MARITIME LTD. (hereinafter “Plaintiff”), by and through its

attorneys, Lennon, Murphy & Lennon, LLC, as and for its Amended Verified Complaint against the

Defendants, INTERNATIONAL OIL OVERSEAS INC. a/k/a IOOI, (hereinaf’ter “IOOI”),

MARINA WORLD SHIPPING CORP. (“MWS”) and GRESI-IAM WORLD SHIPPING INC.

(“GWS”), BAKRI 'I`RADING CO. INC. (“BTC”), TARAZONA SHIPPING CO., S.A. (“TSC”),

SCHIFF HOLDING CO. S.A. ( “SI-IC”), and QUOIN ISLAND MARI`NE WL (“QIM”) (hereinafter

collectively referred to as “Defendants”) allege, upon information and belief, as follows:

1. This is an admiralty and maritime claim within the meaning of Rule 9(h) of the

Federal Rules of Civil Procedure and 28 United States Code § 1333. This claim involves the breach

of maritime contract of charter. This matter also arises under the Court’s federal question

jurisdiction within the meaning of 28 United States § 1331 and the New York Convention on the

Case 1:08-cv-10109-WHP Document 7 Filed 03/27/09 Page 2 of 11

Recognition and Enforcement of Foreign Arbitral Awards (9 U.S.C. § 201 et seq.) and/or the
Pederal Arbitration Act (9 U.S.C. § l et seq.).

2. At all times material to this action, Plaintiff was, and still is, a foreign corporation, or
other business entity organized and existing under foreign law.

3. Upon information and belief, Defendant IOOI was, and still is, a foreign coporation,
or other business entity organized and existing under foreign law.

4. Upon information and belief, Defendants MWS, GWS, BTC, TSC, SHC and
QIM were, and still are, foreign corporations, or other business entities organized and existing under
foreign law, and were, and still are, trade names, aliases, alter-egos, paying agents, receiving agents,
and/or joint venturers of Defendant IOOI who are now, or Will soon be, holding assets/property
belonging to IOOI.

5. At all times material to this action, Plaintiff was the owner of the motor vessel
“FAIR SPIRIT’ (hereinafter “'l`he Vessel”).

6. By a charter party dated March 23, 2007 (hereinafter “charter party”) Plaintiff
voyage chartered the Vessel to Defendant IOOI for the carriage of cargo from Fujairah, United
Arab Emrirates to discharge ports in Singapore and Japan. A copy of the charter party is annexed
hereto as Exhibit "]. ”

7. Pursuant to the terms of the fixture recap, Plaintiff delivered the Vessel into the
service of Defendant IOOI and has at all times fully performed its duties and obligations under the
charter party.

8. The charter party provides for payment of demurragel at the rate of $25,000.00 per

day, pro rata. See Exhibit "1

 

' Demurrage is a fixed sum, per clay or per hour, agreed to be paid for the detention of the vessel under charter at

the expiration of laytime allowed.

Case 1:08-cv-10109-WHP Document 7 Filed 03/27/09 Page 3 of 11

9. Defendant IOOI completed its voyage charter under the charter party. During the
course of loading and discharging, Defendant IOOI exceeded the amount of laytime2 provided for
under the charter party and demurrage charges were incurred See Time Sheet detailing demurrage
incurred at load and discharge ports as Exhibits “2. ”

10. Disputes arose between the parties regarding Defendant IOOI’s failure to pay the
demurrage due and owing under the charter party. See invoice detailing amounts owed attached
hereto as Exhiba "3

11. Defendant IOOI has breached the terms of the charter party by failing to pay
demurrage due and owing to Plaintiff in the total amount of $339,21 8.75 under the Charter Party

12. In accordance with the clause 21 of the charter party, Plaintiff sent IOOI its duly
supported demurrage claim/invoice on May 21, 2007.

l3. However, despite due demand, IOOI failed to pay the amounts due and owing to
Plaintiff under the charter party.

14. Pursuant to the terms of the charter party, disputes between the parties are to be
submitted to arbitration in London with English law to apply.

15. Plaintiff has initiated arbitration in London against Defendant IOOI on its claims.

l6. This action is brought in order to obtain jurisdiction over Defendant(s) and also to
obtain security for Plaintiff’s claims and in aid of London arbitration proceedings

17. Interest, costs and attorneys’ fees are routinely awarded to the prevailing party
under English Law. Section 63 of the English Arbitration Act of 1996 specifically allows for

recovery of these items as part of an award in favor of the prevailing party.

 

2 Laytime refers to the time allowed by the shipowner to the voyage charterer in which to load and/or discharge

the cargo.

Case 1:08-cv-10109-WHP Document 7 Filed 03/27/09 Page 4 of 11

18. As best as can now be estimated, Plaintiff expects to recover the following amounts

at arbitration as the prevailing party:

a. Plaintiff’s principal claim (Demurrage): $ 339,218.75
b. Interest: $ 78,587.98

3 years at 7 % compounded quarterly
c. Estimated recoverable arbitration fees: $ 20,000.00
d. Estimated recoverable legal fees and costs: $ 70,000.00
Total: $ 507,806.73

19. Upon information and belief, Defendants IOOI, MWS, GWS, BTC, TSC, and SHC
are operated, controlled and managed as a single economic enterprise known as the “BAKRI
GROUP” which is ultimately controlled by the Al-Bakri family and headed by Sheikh Abdul Kader
Al-Barki, with offices at The Bakri Building, Al-Andalus Street, Jeddah, 21481, Saudi Arabia.

20. Upon information and belief, among the entities which comprise the BAKRI
GROUP including, but not limited to, IOOI, MWS, GWS, BTC, TSC, and SHC, there is a
commonality of control and management centered with the Al-Bakri family.

21. Defendants MWS, GWS, BTC, TSC, and SHC and the BAKRI GROUP at large are
the alter-egos of Defendant IOOI because they dominate and disregard the corporate form of IOOI,
to the extent that MWS, GWS, BTC, TSC, and SHC and the BAKRI GROUP at large are actually
carrying on the business and operations of IOOI, as if the same was their own, or vice versa.

22. Upon information and belief, IOOI is merely a shell-corporation through which
the BARKI GROUP and Defendants MWS, GWS, BTC, TSC, SHC and QIM conduct their
business

23. Upon information and belief, Defendant IOOI has no separate, independent identity

from MWS, GWS, BTC, TSC, SHC, QIM and the BAKRI GROUP at large.

Case 1:08-cv-10109-WHP Document 7 Filed 03/27/09 Page 5 of 11

24. Upon information and belief, the BAR_KI GROUP and/or IOOI utilize Defendants
MWS, GWS, BTC, TSC, SHC and QIM as “paying/receiving agents” or “pass through” entities
such that they can insulate themselves from creditors relating to their commercial obligations and in
particular its vessel charters

25. Further, upon information and belief, the BAKRI GROUP at large and/or Defendants
MWS, GWS, BTC, TSC, SHC and QIM use IOOI as their “chartering arm.” That is, the BAKRI
GORUP and/or Defendants MWS, GWS, BTC, TSC, SHC and QIM uses IOOl’s name to enter into
charter parties, so that they can insulate themselves from creditors relating to their commercial
obligations and in particular their vessel charters.

26. It is not general practice in the maritime community, nor anywhere else, for
independent companies to make or receive large payments on behalf of other independent
companies Payments sent or received on behalf of another independent company are suggestive of

a relationship that is not “arms length.”

27. Upon information and belief, Defendants MWS, GWS, BTC, TSC, SHC, and QIM
make and/or receives payments on lOOl’s behalf where they have absolutely no contractual
obligation/relationship to IOOI’s creditors and/or debtors

28. Upon information and belief Defendant MWS made substantial payment(s) on behalf
of Defendant IOOI pursuant to a charter party (unrelated to the instant action) even though it was
under no contractual obligation to do so. See the Anastasatou Declaration in Route Holding Inc. et
al. v. International Oil Overseas Inc. et al., Civil Docket No. 06 Civ, 3428 annexed hereto as
Exhibir “4. ”

29. Upon information and belief Defendant GWS made substantial payment(s) on behalf

of Defendant IOOI pursuant to a charter party in this action as well as a charter party in an unrelated

Case 1:08-cv-10109-WHP Document 7 Filed 03/27/09 Page 6 of 11

action even though it was under no contractual obligation to do so. See ll 34 ofSanrantha
International Corp et al. v. International Overseas Oil Inc. et al., Civil Docket No. 08 Civ. 6595 and
1139 ofBezon Shipping Ltd. v. International Oil Overseas Inc. et al., Civil Docket No. 07 Civ. 11363
annexed hereto as Exhibit “5 ” and “6 ” respectively

30. Upon information and belief Defendant BTC made substantial payment(s) on behalf
of Defendant IOOI pursuant to a charter party unrelated to the instant action even though it was
under no contractual obligation to do so. See 1] 36 and 1140 of Exhibit “5 " and "6 ” respectively

3l. Upon information and belief Defendant TSC made substantial payment(s) on behalf
of Defendant IOOI pursuant to a charter party (unrelated to the instant action) even though it was
under no contractual obligation to do so. See 11 35 and 1135-37 of Exhibit “5 ” and "6 ” respectively

32. Upon information and belief Defendant SHC made substantial payment(s) on behalf
of Defendant IOOI pursuant to a charter party unrelated to the instant action even though it was
under no contractual obligation to do so. See 113 7 of Exhibit “5. ”

33. Upon information and belief Defendant QIM made substantial payment(s) on behalf
of Defendant IOOI pursuant to a charter party (unrelated to the instant action) even though it Was
under no contractual obligation to do so. See 138 ofExhibit “6. ”

34. Based on the above, among the entities which comprise the BAKRI GROUP,
including but not limited to IOOI, MWS, GWS, BTC, TSC, SHC, QIM, there is commingling of
funds

35. Upon information and belief, the entities which make up the BAKRI GROUP,
including but not limited to Defendants IOOI, MWS, GWS, BTC, TSC, SHC and QIM share or

shared common ownership, operation, and/or premises

Case 1:08-cv-10109-WHP Document 7 Filed 03/27/09 Page 7 of 11

36. Upon information and belief Defendant IOOI uses the same postal address as the
BAKRI GROUP and Defendants MWS, GWS, BTC, TSC and SHC, i.e. Al-Andalus Street, P.O.
Box 3757, Jeddah, 21424, Saudi Arabia. See 11 32 of Exhibit "5. "

37. As set forth above, upon information and belief Defendants are among several
companies Which are operated, controlled and managed as a single economic enterprise known as
the “BAKRI GROUP” which are nominally owned and controlled by members of the Al Bakri
family. See 11 31 of Exhibit “5. ”

38. Upon information and belief, among the entities which make up the BAKRI
GROUP, including but not limited to IOOI, MWS, GWS, BTC, TSC and SI-IC, there is an overlap
in directors, officers, and/or employees

39. Upon information and belief the directors of MWS include Mr. Bakri and his
immediate family members, who serve in many other positions within the Bakri Group. Further,
two of the directors of IOOI are tied to the Bakri Group. See 1147-53 ofExhibit “4. ”

40. Upon information and belief Defendants IOOI, MWS, GWS, BTC, TSC, SHC and
QIM do not observe proper corporate formalities It is rare for Saudi trading groups such as the
BAKRI GROUP to observe any traditional corporate organization See p. 2 of the MIU Report
annexed hereto as Exhibit "7. ”

41. Based on the foregoing, as well as other activities, Defendants should be considered
as a single economic unit with no corporate distinction between or among them, rendering each
liable for the debts of the other, and all assets of Defendants MWS, GWS, BTC, TSC, SHC and

QIM susceptible to attachment and/or restraint for the debts of Defendant IOOI.

Case 1:08-cv-10109-WHP Document 7 Filed 03/27/09 Page 8 of 11

42. By virtue of the foregoing, Defendants MWS, GWS, BTC, TSC, SHC and QIM are
properly considered a party to the subject contract as the trade names, aliases, alter egos, and/or
paying agents of Defendant IOOI.

43. In the further alternative, upon information and belief Defendants MWS, GWS,
BTC, TSC, SHC and QIM are joint venturers and/or successors in interest of Defendant IOOI such
they are now, or will soon be, holding assets belonging to Defendant IOOI.

44. In the further alternative, upon information and belief Defendants MWS, GWS,
BTC, TSC, SHC and QIM are affiliated companies such they are now, or will soon be, holding
assets belonging to Defendant IOOI.

45 . The Defendants cannot be found within this District within the meaning of
Rule B of the Supplemental Rules for Certain Admiralty and Maritime Claims of the Federal Rules
of Civil Procedure, but, upon information and belief, Defendants have, or will have during the
pendency of this action, assets Within this District and subject to thejurisdiction of this Court, held
in the hands of one or more garnishees which are believed to be due and owing to the Defendants
See Ajj'i`davit in Support of Prayer for Maritime Attachrnent annexed hereto as Exhibit "8. ”

46. The Plaintiff seeks an order from this court directing the Clerk of Court to
issue Process of Maritime Attachment and Garnishment pursuant to Rule B of the Supplemental
Rules for Certain Admiralty and Maritime Claims, attaching, inter alia, any property of the
Defendants held by any garnishee within the District for the purpose of obtaining personal
jurisdiction over the Defendants and to secure the Plaintiff's claims as described above.
WHEREFORE, Plaintiff prays:

A. That process in due form of law issue against the Defendants, citing them to appear

and answer under oath all and singular the matters alleged in the Amended Verified Complaint;

Case 1:08-cv-10109-WHP Document 7 Filed 03/27/09 Page 9 of 11

B. That the Court retain jurisdiction to compel the Defendant(s) to arbitrate in
accordance with the United States Arbitration Act, 9 U.S.C. § l et seq.;

C. That pursuant to 9 U.S.C. §§ 201. et seq. and/or the doctrine of comity this Court
recognize and confirm any foreign judgment or arbitration award rendered on the claims had herein
as a Judgment of this Court;

D. That since the Defendants cannot be found within this District pursuant to Rule B of
the Supplemental Rules for Certain Admiralty and Maritime Claims, this Court issue an Order
directing the Clerk of Court to issue Process of Maritime Attachrnent and Garnishment pursuant to
Rule B of the Supplemental Rules for Certain Admiralty and Maritime Claims, attaching all
tangible or intangible property of the Defendants within the District, including but not limited to
any funds held by any garnishee, which are due and owing to the Defendants, up to the amount
$507,806.73 to secure the Plaintiff’ s claims, and that all persons claiming any interest in the same

be cited to appear and pursuant to Supplemental Admiralty Rule B answer the matters alleged in the

Amended Complaint;
E. That this Court enter judgment against Defendants on the claims set forth herein;
F. That this Court retain jurisdiction over this matter through the entry of any

judgment or award associated with any of the claims currently pending, or which may be initiated in
the future, including any appeals thereof;

G. That this Court award Plaintiff its attorney’s fees and costs of this action; and

H. That the Plaintiff have such other, hrrther and different relief as the Court

may deem just and proper.

Case 1:08-cv-10109-WHP Document 7 Filed 03/27/09 Page 10 of 11

Dated: March 27, 2009

The Plaintiff,
FAIR SPIRIT MARITIME LTD.

Byr ga /eo/i
Pat ck F. Lenl{on

Nancy R. Siegel

LENNON, MURPHY & LENNON, LLC
420 Lexington Ave., Suite 300

New York, NY 10170

(212) 490-6050 - phone

(212) 490-6070 - fax

pfl@lenmur.com

nrs@leninur.com

 

ill

Case1:08-cv-10109-WHP Document 7 Filed 03/27/09 Page 11 0111

ATTORNEY’S VERIFICATION
l. My name is Nancy R. Siegel.
2. l am over 18 years of age, of sound mind, capable of making this

Verification, and hilly competent to testify to all matters stated herein.

3. I am an attorney in the firm of Lennon, Murphy & Lennon, LLC, attorneys for the
Plaintiff.
4. l have read the foregoing First Amended Verified Complaint and know the contents

thereof and believe the same to be true and accurate to the best of my knowledge, information and
belief.

5. The reason why this Verification is being made by the deponent and not
by the Plaintiff is that the Plaintiff is a business organization with no officers or directors now
within this District.

6. The source of my knowledge and the grounds for my belief are the
statements made, documents and information received from the Plaintiff and agents and/or
representatives of the Plaintiff, and information available on the public docket.

7. I am authorized to make this Veritication on behalf of the Plaintiff

Dated: March 27, 2009

